              Case 2:03-cr-00371-JAM Document 655 Filed 09/07/07 Page 1 of 2


 1
 2   Michael E. Hansen
     Attorney at Law, SBN 191737
 3   711 Ninth Street, Suite 100
     Sacramento, CA 95814
 4   916.438.7711 FAX 916.438.7721
 5   Attorney for Defendant
     JONATHAN BLACKMAN
 6
 7
 8                          IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                          No. 2:03-cr-00371-MCE
12                                Plaintiff,
13                                                      STIPULATION AND ORDER:
            vs.                                         EXCLUSION OF TIME
14   JONATHAN BLACKMAN, et al.,
15                                Defendants.
16
17          IT IS HEREBY STIPULATED by and between the parties hereto through their
18   respective counsel, William S. Wong, Assistant United States Attorney, attorney for plaintiff,
19   Michael E. Hansen, attorney for defendant Jonathan Blackman, C. Emmett Mahle, attorney for
20   defendant Shawn Michael Conley, Krista Hart, attorney for defendant Petra Funtila, and
21   William Bonham, attorney for defendant Eric Newborn, that the previously scheduled trial
22   confirmation hearing date of September 6, 2007, be vacated and the matter set for trial
23   confirmation on September 13, 2007, at 9:00 a.m.
24   ///
25   ///
26   ///
27   ///
28   ///



                                                   1
             Case 2:03-cr-00371-JAM Document 655 Filed 09/07/07 Page 2 of 2


 1          This continuance is requested due to the unavailability of defense counsel on
 2   September 6, 2007. Accordingly, all counsel and the defendant agree that time under the
 3   Speedy Trial Act from the date this stipulation is lodged, through September 13, 2007, should
 4   be excluded in computing time within which trial must commence under the Speedy Trial Act,
 5   pursuant to Title 18 U.S.C. § 3161(H)(8)(B)(iv) and Local Code T4.
 6   Dated: September 4, 2007                           Respectfully submitted,
 7                                                      /s/ Michael E. Hansen
                                                        MICHAEL E. HANSEN
 8                                                      Attorney for Defendant
                                                        JEREMY FLINN
 9
10   Dated: September 4, 2007                           /s/ Michael E. Hansen for
                                                        WILLIAM S. WONG
11                                                      Assistant U.S. Attorney
                                                        Attorney for Plaintiff
12
13   Dated: September 4, 2007                           /s/ Michael E. Hansen for
                                                        C. EMMETT MAHLE
14                                                      Attorney for Defendant
                                                        SHAWN MICHAEL CONLEY
15
16   Dated: September 4, 2007                           /s/ Michael E. Hansen for
                                                        KRISTA HART
17                                                      Attorney for Defendant
                                                        PETRA FUNTILA
18
19   Dated: September 4, 2007                           /s/ Michael E. Hansen for
                                                        WILLIAM BONHAM
20                                                      Attorney for Defendant
                                                        ERIC NEWBORN
21
                                               ORDER
22
            IT IS SO ORDERED. Time is excluded in the interests of justice pursuant to 18 U.S.C.
23
     § 3161(H)(8)(B)(iv) and Local Code T4.
24
     DATED: September 6, 2007
25
                                              __________________________________
26
                                              MORRISON C. ENGLAND, JR
27                                            UNITED STATES DISTRICT JUDGE

28




                                                  2
